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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION
                                   www.flsb.uscourts.gov


 In re:

 SABRINAS ATLANTIC WINDOW                                Case No.: 22-18568-SMG
 CLEANING AND PRESSURE                                   Chapter 11-Lead Case
 CLEANING, LLC,
                                                         Jointly Administered
 RACHEL ANN EULER,                                       Case No.: 22-18573-SMG
           Debtors.
 __________________________________/

                                     CERTIFICATE OF SERVICE

          Sabrinas Atlantic Window Cleaning and Pressure Cleaning, LLC, and Rachel Ann Euler,

(“Debtors”) by and through undersigned counsel, certifies that the Notice to Parties Participating

in Judicial Settlement Conference (ECF. 112) was served via CM/ECF notification upon all

interested parties registered to receive electronic notification, and via U.S. mail to the party listed

below:

                                            Service List

Notice Service via CM/ECF:

Anthony F. Giuliano on behalf of Interested Party Anthony Funding Metrics LLC
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Michael A. Nardella on behalf of Debtor Sabrinas Atlantic Window Cleaning and Pressure Cleaning,
LLC
mnardella@nardellalaw.com, klynch@nardellalaw.com;ksmith@nardellalaw.com
Michael A. Nardella on behalf of Debtor Rachel Ann Euler
mnardella@nardellalaw.com, klynch@nardellalaw.com;ksmith@nardellalaw.com
Martin P Ochs on behalf of U.S. Trustee Office of the US Trustee
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Jonathan M Sykes on behalf of Debtor Rachel Ann Euler
jsykes@nardellalaw.com, klynch@nardellalaw.com;kcooper@nardellalaw.com

Notice Service via U.S. Mail

Jessie I Unruh
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Dated: June 6, 2023                          Respectfully submitted,


                                             /s/ Jonathan M. Sykes
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                                             Counsel for Debtors
